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              ATTACHMENT C
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                                      Nos. 2014-1335, -1368


            United States Court of Appeals
                                                 for the

                               Federal Circuit

                              APPLE INC., a California corporation,

                                                                     Plaintiff-Cross-Appellant,

                                                 – v. –

                SAMSUNG ELECTRONICS CO., LTD., a Korean corporation,
             SAMSUNG ELECTRONICS AMERICA, INC., a New York corporation,
                 SAMSUNG TELECOMMUNICATIONS AMERICA, LLC,
                         a Delaware limited liability company,

                                                                       Defendants-Appellants.



             ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF CALIFORNIA IN CASE NO. 11-CV-01846-LHK,
                             HONORABLE LUCY H. KOH


              OPENING BRIEF FOR DEFENDANTS-APPELLANTS

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         MICHAEL T. ZELLER                                WILLIAM B. ADAMS
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            Electronics America, Inc. and Samsung Telecommunications America, LLC

                       (For Continuation of Appearances See Inside Cover)
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   element of patent infringement,” despite Apple presenting copying as a central trial

   theme and despite clear law that copying “is of no import on the question of

   whether the claims of an issued patent are infringed,” Allen Eng’g Corp. v. Bartell

   Indus., Inc., 299 F.3d 1336, 1351 (Fed. Cir. 2002).

         Over Samsung’s objection (A43865-68), the verdict form provided for a

   single damages award for each product without particularizing by patent/trade

   dress or damages theory. A00646-47; A43924-28. On August 24, 2012, the jury

   returned a verdict awarding Apple $1,049,343,540 in damages on twenty-three

   Samsung products and no damages on five products. A00646. As the district

   court concluded in ruling on post-trial motions (A00097-98; A24945), the basis for

   the jury’s award could be reverse-engineered as follows:

         For each of the eleven Samsung phones (Captivate, Continuum, Droid

   Charge, Epic 4G, Galaxy S II 2 (AT&T), Galaxy S II (T-Mobile), Galaxy S II

   (Epic 4G Touch), Galaxy S II (Skyrocket), Gem, Indulge, and Infuse 4G) for

   which the jury found infringement of one or more design patents but no trade-dress

   dilution, the jury awarded the entirety of Samsung’s profits, which it determined to

   be 40% of Apple’s claimed figure (reflecting a dispute over deductible costs). For

   each of the five Samsung phones (Fascinate, Galaxy S 4G, Galaxy S Showcase

   (i500), Mesmerize, and Vibrant) for which the jury found infringement of one or

   more design patents and trade-dress dilution, the jury awarded Apple’s claimed

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   lost profits plus the same 40% of Apple’s claimed figure for Samsung’s profits.

   For five of the seven Samsung products that were found to infringe only utility

   patents (Exhibit 4G, Galaxy Tab, Nexus S 4G (’381 & ’915), Replenish (’163

   and ’381), and Transform (’915)), the jury awarded half of Apple’s claimed

   royalties. For the remaining two Samsung products found to infringe only utility

   patents, the jury awarded 40% of Apple’s claimed figure for Samsung’s profits on

   the Galaxy Prevail, and $833,076 for the Galaxy Tab 10.1 (WiFi).

         E.     The District Court’s Orders On Post-Trial Motions

         After trial, Samsung moved under Fed. R. Civ. P. 50(b) for judgment as a

   matter of law (“JMOL”) and 59 for new trial or remittitur. A07605-08128. Apple

   moved under those rules for JMOL, new trial, and an amended judgment. A8669.

   The district court denied Apple’s motions for permanent injunction (A08258-59)

   and willfulness enhancements (A08461-62). It also denied Samsung’s motions

   (A08129-48; A00002-89) except insofar as it granted Samsung JMOL that

   infringement of the utility and design patents was not willful, and vacated and

   granted new trial as to $410,020,294 in damages on twelve Samsung products as to

   which Apple failed to provide a correct “notice date” and on one product on which

   the jury had erroneously awarded infringer’s profits for utility-patent infringement.




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   A00110-12; A08169.1 The court declined to order new trial on five other products,

   despite similarly incorrect notice dates, because they had been found both to

   infringe design patents and to dilute unregistered trade dress, and the court ruled

   that notice was not required for trade-dress dilution. A00109-10.2

         F.     The Partial Damages Retrial
         In November 2013, the district held a five-day partial retrial on damages

   before a second jury, conducted under “Groundhog Day” rules (A08342-43) that

   precluded any challenges to previously decided issues. This time the jury awarded

   Apple $290,456,793 in damages. A00652-53.

         For each of six Samsung devices found to infringe only utility patents

   (Exhibit 4G, Galaxy Prevail, Galaxy Tab, Nexus S 4G, Replenish, and Transform),

   the jury awarded 100% of Apple’s claimed lost profits and reasonable royalty.

   A00119. For each of seven Samsung devices found to infringe both design and

   utility patents (Captivate, Continuum, Droid Charge, Epic 4G, Gem, Indulge, and

   Infuse 4G), the jury awarded 100% of Apple’s claimed lost profits and reasonable


         1
           These thirteen products were: Captivate, Continuum, Droid Charge, Epic
   4G, Exhibit 4G, Galaxy Prevail, Galaxy Tab, Gem, Indulge, Infuse 4G, Nexus S
   4G, Replenish, and Transform. The court initially vacated the award of
   $40,494,356 for the Galaxy S II AT&T, but ultimately reinstated it. A08169.
         2
           The district court’s post-trial rulings are reported at 932 F. Supp. 2d 1076
   (N.D. Cal. 2013); 926 F. Supp. 2d 1000 (N.D. Cal. 2013); 920 F. Supp. 2d 1116
   (N.D. Cal. 2013); 920 F. Supp. 2d 1079 (N.D. Cal. 2013); and 909 F. Supp. 2d
   1147 (N.D. Cal. 2012).
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   royalty, plus the exact average of the parties’ respective total Samsung profits

   calculations (which amounted to 61.4% of Apple’s claimed infringer’s profits).

   A00119-20; A00123; A00128 .

         The district court denied Samsung’s post-retrial motions (A08463-512) for

   JMOL, new trial, and/or remittitur. A00116-44.

         G.       The Final Judgment
         On March 6, 2014, the district court entered final judgment for Apple in the

   amount of $929,780,039. A00001. This amount represented the $1,049,343,540

   award from the first trial, minus the vacated $410,020,294, plus the $290,456,793

   awarded on retrial. A00646; A00114; A08168-69; A00652; A00116.

         Divided by damages theory, that judgment comprises $689,492,147 in

   Samsung’s profits ($398,940,864 for design-patent infringement and $290,551,283

   for dilution of unregistered trade dress), $204,909,622 in Apple’s lost profits

   ($113,777,343 for utility-patent infringement and $91,132,279 for dilution of

   unregistered     trade   dress),    and    $35,458,270    in    reasonable-royalty

   damages. A00089-A00144.

         Divided by cause of action, the judgment awards $398,940,864 for design-

   patent infringement, $381,683,562 for dilution of Apple’s unregistered trade dress,

   and $149,235,613 for utility-patent infringement.




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           And divided by product, the judgment reflects ten damages awards from the

   first trial:

           Fascinate ($143,539,179)

           Galaxy S 4G ($73,344,668)

           Galaxy S II (AT&T) ($40,494,356)

           Galaxy S II (Epic 4G Touch) ($100,326,988)

           Galaxy S Showcase (i500) ($22,002,146)

           Galaxy S II (Skyrocket) ($32,273,558)

           Galaxy S II (T-Mobile) ($83,791,708)

           Galaxy Tab 10.1 (WiFi) ($833,076)

           Mesmerize ($53,123,612)

           Vibrant ($89,673,957)

   and thirteen more from the retrial:

           Captivate ($21,121,812)

           Continuum ($6,478,873)

           Droid Charge ($60,706,020)

           Epic 4G ($37,928,694)

           Exhibit 4G ($2,044,683)

           Galaxy Prevail ($22,143,335)

           Galaxy Tab ($9,544,026)

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         Gem ($4,831,453)

         Indulge ($9,917,840)

         Infuse 4G ($99,943,987)

         Nexus S 4G ($10,559,907)

         Replenish ($3,046,062)

         Transform ($2,190,099).

                             SUMMARY OF ARGUMENT
         The judgment should be reversed, or at the very least vacated and remanded,

   for any of several, independent reasons.

         1.     The $399 million judgment for design-patent infringement should be

   reversed because no reasonable, properly-instructed jury could find infringement

   or damages. First, as to liability, the district court erred as a matter of law in

   instructing the jury on design-patent scope and infringement. Specifically, the

   district court failed to instruct the jury to “factor out” the unprotectable structural

   and functional elements of Apple’s designs (e.g., large rectangular form with

   rounded corners, grid of icons, etc.), thereby allowing Apple to obtain a monopoly

   over a basic geometric shape and functional features of a smartphone.                It

   compounded this error, moreover, by ruling that the lack of real-world deception is

   irrelevant to design-patent infringement and by minimizing the role of prior art in

   the infringement analysis, notwithstanding that prior art can (and does here) render


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